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                           UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

 RONALD CUSSON,

                             Plaintiff,

 -vs-                                             Case No. 6:10-cv-1648-Orl-28GJK

 VIKING COLLECTION SERVICE, INC.,

                       Defendant.
 ______________________________________


                         ORDER OF DISMISSAL WITH PREJUDICE

         Upon consideration of the Plaintiff’s Notice of Voluntary Dismissal with Prejudice

 (Doc. No. 6), and pursuant to Fed. R. Civ. P. 41(a), it is hereby

         ORDERED that this case is dismissed with prejudice. All pending motions are

 DENIED as moot. The Clerk is directed to close this file.

         DONE and ORDERED in Chambers, Orlando, Florida this 7th day of January,

 2011.




 Copies furnished to:

 Counsel of Record
 Unrepresented Party
